IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
WESTERN DIVISION
5:19-CV-319-BO

ANTHONY THOMPSON,
Plaintiff,

V. SCHEDULING ORDER
BRANDSAFWAY SERVICES, LLC;
SAFWAY GROUP HOLDINGS, LLC;
BRANDSAFWAY, LLC;
BRANDSAFWAY INDUSTRIES, LLC;
BRANDSAFWAY SOLUTIONS, LLC;
THYSSENKRUPP SAFWAY, LLC; and
SAFWAY TRANSFER AND STORAGE,
INC.,

Nome Nae Nene Se” Nome” Neue Nee Nee Nee Ne” Nene Nee nee ee” nme nee”

Defendants.

The court has considered the Report of the Parties’ Planning Meeting (“Discovery Plan”)
(D.E. 34), filed 13 November 2019 and annexed hereto. The court finds the Discovery Plan to be
reasonable. Accordingly, the Discovery Plan is APPROVED, subject to the changes reflected
herein.

Critical deadlines are as follows:

1. All discovery shall be commenced in time to be completed by 14 August 2020.

2. Reports from retained experts are due from plaintiff by 24 April 2020 and from
defendants by 26 June 2020. Plaintiff's disclosed experts shall be made available for deposition
by 29 May 2020 and defendants’ disclosed experts shall be made available for deposition by 24
July 2020.

3. Any potentially dispositive motions shall be filed by 9 October 2020.

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4, Motions to join additional parties and amend pleadings must be filed promptly, but
in no event later than 28 February 2020. Nothing in this Order shall relieve any party of any
requirement under Fed. R. Civ. P. 15 or otherwise to obtain court approval prior to joining a party
or amending its pleadings. Any motion to amend filed after the deadline set in this Order must
meet the standards of Fed. R. Civ. P. 15 and 16.

5. Supplementation shall be made in accordance with Fed. R. Civ. P. Rule 26(e),
unless otherwise ordered by the court.

6. Pretrial disclosures and objections thereto, and the proposed pretrial order shall
comply with the requirements of Fed. R. Civ. P. 26(a)(3) and Local Civil Rule 16.1, E.D.N.C.,
provided that the deadlines in Local Civil Rule 16.1(b)(1) shall control, unless otherwise ordered
by the court.

7. The trial date will be set in a separate order by Chief District Judge Terrence W.
Boyle. Pursuant to the 20 August 2002 Standing Order entered by Chief Judge Boyle (posted as
no. 02-JP-1-BO on Chief Judge Boyle’s practice preferences page), the court reserves the right to
schedule the case for trial as early as 30 days after the dispositive motion deadline.

Counsel are cautioned not to be dilatory in pursuing discovery. Motions for extension of
discovery deadlines are not favored if they would require a continuance of the trial. Any
stipulations by the parties regarding discovery, including deadlines, are subject to the requirements
of Fed. R. Civ. P. 29.

Any party that makes an appearance after this Order has been entered shall be required to
confer with opposing counsel and make disclosures pursuant to Fed. R. Civ. P. 26(a)(1) within 21
days after the party’s appearance. Such party shall be bound by the terms of this Order unless the

party moves for and obtains amendment of this Order by the court. Any other party seeking

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amendment of this Order due to the appearance of a new party may also file a motion for such
relief.
This case is subject to mandatory mediation during the discovery period, pursuant to Local
Civil Rule 101.1a(a), (b), E.D.N.C. The parties indicate that they have agreed to the appointment
of Jacqueline R. Clare as the mediator in this case. Accordingly, they shall file a statement
identifying the selection of Ms. Clare as mediator, or such other person they may ultimately select,
and meeting the other applicable requirements within 21 days after entry of this Order, in
accordance with Local Civil Rule 101.1c(a). If a statement is not timely filed, the Clerk will
appoint a mediator from the list of court-certified mediators, in accordance with Local Civil Rule
101.1c(b).
The portions of the Discovery Plan not modified or otherwise addressed herein are
ADOPTED as the court’s order.
SO ORDERED, this [day of November 2019.
J ames E. Gates
United States Magistrate Judge

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
WESTERN DIVISION
NO. 5:19-ev-319

ANTHONY THOMPSON,
Plaintiff,
Vv. REPORT OF THE PARTIES’
PLANNING MEETING
BRANDSAFWAY SERVICES, LLC; Fed. R. Civ. P. 26(f)

SAFWAY GROUP HOLDINGS, LLC;
BRANDSAFWAY, LLC; BRANDSAFWAY
INDUSTRIES, LLC; BRANDSAFWAY
SOLUTIONS, LLC; THYSSENKRUPP
SAFWAY, INC.; and SAFWAY TRANSFER
AND STORAGE, INC.,

Defendants.

 

 

The following persons participated in a Rule 26(f) conference on October 30, 2019:
William H. Harkins, Jr., representing the Plaintiff

Brian O. Beverly, representing the Defendants

Initial Disclosures.

Mandatory initial disclosures will be due within 14 days of the entry of a Scheduling
Order by the Court.

Discovery Plan. The parties propose this discovery plan:

a. Discovery will be needed on all claims and defenses alleged in the Complaint and
the Answer.
b. Disclosure or discovery of electronically stored information will be handled

through initial disclosures and the discovery procedures outlined in Rules 33 and

34 of the Rules of Civil Procedure.

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c. The Defendants will draft a proposed consent protective order to govern production
of any materials containing commercial trade secrets and proprietary information.

d. All discovery (general and expert) shall be completed on or before August 14, 2020.

e. Plaintiff shall disclose expert witnesses and their reports on or before April 24,

2020.

f. Plaintiff shall make all disclosed experts available for deposition on or before May

29, 2020.

g. Defendants shall disclose expert witnesses and their reports on or before June 26,
2020.

h. Defendants shall make all disclosed experts available for deposition on or before
July 24, 2020.

i. Supplementations under Rule 26(e) are due: as appropriate.

4, Mediation. Mediation is to be completed by September 4, 2020. The exact date of the
mediation is to be set by the mediator after consultation with the parties. The parties agree that
the mediator shall be Jacqueline R. Clare.

5. Preliminary Deposition Schedule. Depositions may be scheduled after initial written
discovery is completed. Each party may take up to ten (10) fact witness depositions. A party must

obtain leave of court to take additional depositions.

6. Magistrate Jurisdiction: No.

7. Pretrial Conference: The parties do not request a Rule 16(b) pretrial conference prior to

entry of the case management order.

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8. Companion Cases: There are no other cases relating to the instant matter that raise potential

issues of consolidation or assignment.

9. Scheduling Concerns: The parties are not currently aware of any compelling personal or

professional scheduling concerns that may affect the course of proceedings.

10. Other Items:

a.

The parties shall be allowed until February 28, 2020 to request leave to join
additional parties or to amend pleadings.

Either party may request leave of court to join additional parties or amend pleadings
based on information acquired during discovery.

Written discovery shall be governed by the procedures set forth in Rules 33, 34 and
36 of the Rules of Civil Procedure. Each party may serve up to fifty (50)
interrogatories; up to twenty-five (25) requests for production of documents; and
up to twenty-five (25) requests for admissions.

All potentially dispositive motions shall be filed by October 9, 2020.

Final lists of witnesses and exhibits under Rule 26(a)(3) shall be due from the
parties by November 6, 2020.

The parties shall have ten (10) days after service of witness and exhibit lists by the
opposing party to file objections to the same pursuant to Rule 26(a)(3).

Trial of this action is expected to take approximately five (5) days.

The case should be ready for trial on or after November 16, 2020.

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This the 13" day of November, 2020.

 

 

BRENT ADAMS & ASSOCIATES YOUNG MOORE AND HENDERSON P.A.
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BrandSafway, LLC; and
Thyssenkrupp Safway, LLC

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